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RALPH COLEMAN, et al., v. ARNOLD SCHWARZENEGGER, et al.,
CASE NO. CIV S-90-0520 LKK JFM P

DEFENDANTS’ RESPONSE TO COURT ORDER REGARDING
PLAN TO ADDRESS PAY PARITY FOR DMH CLINICIANS

EXHIBIT A
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TOE ARNOLD SGHWARZENEGGER, GOVERNOR
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Honorable Denise Moreno Ducheny, Chair
Senate Budget and Fiscal Review Committee

Attention: Mr. Danny Alvarez, Staff Director (2)

Honorable John Laird, Chair
Assembly Budget Committee

Attention: Mr. Christopher W. Woods, Chief Consultant (2)

Amendment to Budget Bill Items 4440-001-0001, 4440-011-0001, and Reimbursements,
Support, Department of Mental Health

Continued Implementation of the Mental Health Services Act (Proposition 63) (Issue 110)—
itis requested that Item 4440-001-3085 be increased by $17,814,000 and that

item 4440-001-0001 be amended to reflect this change. This request includes funding for

109.2 positions (including 13.0 two-year limited-term positions) and new or existing contracts for
continued implementation of the Mental Health Services Act (MHSA). These resources are
necessary to staff and support ongoing MHSA policy, program design, and implementation; an
extensive statewide stakeholder process; integrated county plan reviews; the California Mental
Health Planning Council and the Mental Health Services Oversight and Accountability
Commission.

Coleman-Related Salary increases for Filled Mental Health Classifications (Issue 120}—It is
requested that Item 4440-011-0001 be increased by $28,840,000 and Reimbursements be
increased by $715,000. This augmentation is necessary to bring salaries for filled Department of
Mental Health (DMH) professional and level-of-care mental health classifications closer to parity
with California Department of Corrections and Rehabilitation (CDCR) salaries, which were
increased as a result of the Co/eman court decision. This action is necessary to ensure staff
retention at the state hospitals. The augmentation reflects salary increases for filled Psychiatrist
and Senior Psychologist classifications at 5 percent less than CDCR salaries and 18 percent less
than CDCR salaries for ali other filled level-of-care mental health classifications.

Revised State Hospital Estimate for Jessica's Law and Chapter 337, Statutes of 2006

(SB 1128) (Issue 130)—It is requested that Item 4440-011-0001 be decreased by $21,655,000.
This augmentation reflects an estimated 50 percent reduction in the number of Sexually Violent
Predator (SVP) commitments to the state hospitals included in the Governors Budget. With the
passage of SB 1128 (Alquist) and Jessica’s Law in the November 2006 general election, the
DMH methodology assumed that 8 percent of the SVP referrais from the COCR would result in a
commitment to a state hospital. Based on the most recent data since the enactment of these
laws, the DMH has updated the rate to 4 percent. The state hospital estimate will be updated in
the May Revision to reflect the associated position reductions.

The effect of my requested action is reflected on the attachment.

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lf you have any questions or need additional information regarding this matter, please call
John Doyle, Principal Program Budget Analyst, at (916) 445-6423.

MICHAEL C. GENEST
Director
By:

is Vincent P. Brown

VINCENT P. BROWN
Chief Deputy Director

Attachment

cc: Honorable Tom Torlakson, Chair, Senate Appropriations Committee
Attention: Mr. Bob Franzoia, Staff Director
Honorable Dennis Hollingsworth, Vice Chair, Senate Budget and Fiscal Review Committee
Attention: Mr. Seren Taylor, Staff Director
Honorable Mark Leno, Chair, Assembly Appropriations Committee
Attention: Mr. Geoff Long, Chief Consultant
Honorable Roger Niello, Vice Chair, Assembly Budget Committee
Attention: Mr. Peter Schaafsma, Staff Director
Honorable Elaine Alquist, Chair, Senate Budget and Fiscal Review Subcommittee No. 3
Honorable Patricia Berg, Chair, Assembly Budget Subcommittee No. 1
Ms. Elizabeth Hill, Legislative Analyst (4)
Ms. Diane Cummins, Senate President pro Tempore's Office
Mr. Craig Cornett, Assembly Speaker's Office (2)
Mr. Ivan Altamura, Chief of Staff, Assembly Republican Leader’s Office
Mr. Scott Carney, Assistant Secretary, Health and Human Services Agency
Dr. Stephen W. Mayberg, Director, Department of Mental Health
Ms. Terrie Tatosian, Deputy Director, Administrative Services, Department of Mental Heaith
Ms. Harriet Kiyan, Chief, Financial Services, Department of Menta! Health

